                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION
                             Case No. 7:14-CV-00157-D

CTB, INC.,                                    )
                                              )
       Plaintiff,                             )
                                              ) JOINT MOTION
       v.                                     ) TO LIFT STAY
                                              )
HOG SLAT, INC.,                               )
                                              )
       Defendant.                             )

       NOW COME Plaintiff CTB, Inc. (“CTB”) and Defendant Hog Slat, Inc. (“Hog Slat”)

(together, the “Parties”), and for their Joint Motion to Lift Stay, state as follows:

       1.      On July 31, 2017, the Parties filed a Joint Motion for a Stay (D.E. 153) of any

ruling on the pending Motions for Summary Judgment (D.E. 115, 118), Motion In Limine to

exclude plaintiff’s expert Rhonda Harper (D.E. 142), and Motion for Hearing on the Motion In

Limine (D.E. 148) pending the outcome of certain engineering tests being conducted by Hog Slat

that could lead to settlement.

       2.      The Court granted the Joint Motion (D.E. 154), and denied without prejudice the

pending motions, indicating that they could be reactivated if settlement is not reached. The

Court further ordered the Parties to submit a joint notice to the Court no later than Nov. 1, 2017

advising of the status of the testing and settlement efforts. The Parties filed that Joint Notice on

November 1, 2017 (D.E. 159).

       3.      Since filing the Joint Notice in November, Hog Slat has continued its testing that

began last summer. To date, however, Hog Slat’s testing has not demonstrated results to Hog

Slat sufficient to justify design changes. Thus, the Parties remain at an impasse on settlement.




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       4.      Accordingly, in view of the continuing impasse on settlement, and pursuant to the

Order granting the Stay (D.E. 154), the Parties respectfully request the Court lift the current Stay,

and reactivate the pending Motions.

       WHEREFORE, the Parties respectfully request that the Court lift the current Stay,

reactivate the Motions (D.E. 115, 118, 142, 148), rule on the merits of those motions, and enter

whatever further relief the Court deems appropriate.

       Dated: March 13, 2018

Respectfully submitted,

   WILLIAMS MULLEN                                CLARK HILL PLC

   /s/ Robert C. Van Arnam____                    /s/ Christopher B. Clare___________
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                              CERTIFICATE OF SERVICE

        I certify that, on March 13, 2018, I electronically filed the foregoing JOINT MOTION
TO LIFT STAY with the Clerk of the Court using the CM/ECF system that will automatically
serve all counsel of record including the following:


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Dated: March 13, 2018
                                           WILLIAMS MULLEN

                                           /s/ Robert C. Van Arnam




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